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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

  RODNEY UNDERWOOD,                                §
                                                   §
          Plaintiff,                               §
                                                   §
  v.                                               §    Civil Action No. 4:23-cv-04405
                                                   §
  COMMUNITY LOAN SERVICING,                        §
  LLC,                                             §
                                                   §
          Defendant.                               §


                                    NOTICE OF NON-FILING


       COMES NOW Defendant Community Loan Servicing, LLC (“Defendant”) and hereby

files this Notice of Non-Filing to notify the Court that Plaintiff Rodney Underwood (“Plaintiff”)

has failed to respond to Defendant’s Motion to Dimiss Complaint (Doc. No. 4) (“Motion to

Dismiss”).

       On November 21, 2023, Defendant filed its Motion to Dismiss. See Doc. No. 4. Pursuant

to Local Rule 7.3, Plaintiff’s deadline to respond to the Motion to Dismiss was December 12, 2023

(the “Submission Date”). Plaintiff failed to timely respond to the Motion to Dismiss by the

Submission Date, and to date, no response has been filed. Pursuant to Local Rule 7.4, Plaintiff’s

failure to respond to the Motion to Dismiss by the Submission Date is “taken as a representation

of no opposition.” Therefore, the Court may consider the Motion to Dismiss as unopposed.

       WHEREFORE, Defendant prays that the Court grant the Motion to Dismiss and

respectfully request such other and further relief to which they may justly be entitled.




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                                            Respectfully submitted,


                                            /s/ Elizabeth Hayes
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                                            ATTORNEYS FOR DEFENDANT


                               CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing instrument was served upon
the following via CMRRR and/or regular mail pursuant to the Federal Rules of Civil Procedure on
December 15, 2023.

        Rodney Underwood
        2221 Wentworth St.
        Houston TX 77004
        Pro Se Plaintiff


                                            /s/ Elizabeth Hayes
                                            Counsel for Defendant




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